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                          EXHIBIT 4
Case 2:22-cv-00209-GW-MRW Document 46-5 Filed 03/28/22 Page 2 of 2 Page ID #:928


  From:    App Store Notices AppStoreNotices@apple.com
Subject:   Apple Inc. (our ref# APP89955) Notice of Complaint
   Date:   January 16, 2018 at 5:13 PM
     To:   garenainternationalprivate@gmail.com
    Cc:    romel1945@bluehole.net

       Dear Sir or Madam,

       **Please include APP89955 in the subject line of any future correspondence on this matter.**

       On 1/6/2018, we received a notice from PUBG Corporation ("Complainant") that Complainant believes the app listed below infringes
       its intellectual property rights. In particular, Complainant believes you are infringing its copyright. Please see their comments below.

       Developer: GARENA INTERNATIONAL I PRIVATE LIMITED
       Provider: GARENA INTERNATIONAL I PRIVATE LIMITED
       App Title: Free Fire - Battlegrounds
       Apple ID: 1300146617

       Comments from Complainant: The game infringes our online game "Playerunknown's battlegrounds"
       -

       You can reach Complainant through Yunji Yang (email: romel1945@bluehole.net), copied on this email. Please exchange
       correspondence directly with Complainant.

       We look forward to receiving written assurance that your application does not infringe Complainant's rights, or that the parties are
       taking steps to promptly resolve the matter. Please keep us apprised of your progress.

       Please note that during the course of this matter:

       1. Correspondence to Apple must include the reference number noted above in the subject line and copy the other party. All
       correspondence sent to Apple may be shared with the other party.

       2. Written assurance of rights may include confirmation that your application does not infringe Complainant's rights, an express
       authorization from Complainant, or other evidence acceptable to Apple, and should include documentation wherever possible.

       3. Should you choose to remove your application (for example, while you make any necessary changes), visit iTunes Connect at
       http://itunesconnect.apple.com and access your app in the Manage Your Application module.

       •     Access your app in the "My Apps" module
       •     Click on the "Pricing and Availability" tab from the App Summary Page and select "Edit" by "Availability"
       •     Select and deselect "All" territories to uncheck all App Store territories
       •     Click on the "Done" button

       4. Developers with a history of allegations of repeat infringement, or those who misrepresent facts to Apple and/or the Complainant
       are at risk of termination from the Developer Program.

       5. Failure to respond to the Complainant or to take steps toward resolving a dispute may lead to removal of the app(s) at issue as in
       violation of the App Store Review Guidelines and/or the iOS Developer Program License Agreement. Please keep Apple apprised of
       your progress.

       Thank you for your immediate attention.

       Sincerely,

       James

        iTunes Legal Apple 1 Infinite Loop Cupertino CA 95014 mailto:AppStoreNotices@apple.com
       The information in this e-mail and any attachment(s) is intended solely for the personal and confidential use of the designated
       recipients. This message may be an attorney-client communication protected by privilege. If you are not the intended recipient, you
       may not review, use, copy, forward, or otherwise disseminate this message. Please notify us of the transmission error by reply e-mail
       and delete all copies of the message and any attachment(s) from your systems. The use of the sender's name in this message is not
       intended as an electronic signature under any applicable law. Thank you.
